                                                                                          Case 2:14-cv-04077-PA-AJW Document 116 Filed 02/12/16 Page 1 of 2 Page ID #:7018



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                                                                                             7   Attorneys for Plaintiffs
                                                                                                 BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                             8   LLC, and ECIBSUB, LLC
                                                                                             9                        UNITED STATES DISTRICT COURT
                                                                                            10                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                            11                                WESTERN DIVISION
T ROUTMAN S ANDERS LLP




                                                                                            12   BILL A. BUSBICE, JR., an individual;       Case No. CV 14-4077 PA (AJWx)
                                                           I R V I N E , C A 92614-2545




                                                                                                 OLLA PRODUCTIONS, LLC, a limited           consolidated with CV 14-7063 PA
                         5 PAR K PLA ZA




                                                                                                 liability company; and ECIBSUB, LLC,       (AJWx)
                                          S U I T E 1400




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                                                                                                 a limited liability company,
                                                                                            14                                              Hon. Percy Anderson
                                                                                                                Plaintiffs,
                                                                                            15                                              JUDGMENT AGAINST
                                                                                                         v.                                 DEFENDANT GERALD R.
                                                                                            16                                              SEPPALA
                                                                                                 JAMES DAVID WILLIAMS, an
                                                                                            17   individual; et al.,
                                                                                            18                  Defendants.
                                                                                            19
                                                                                                 AND RELATED CONSOLIDATED
                                                                                            20   ACTION.
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                                                                                                              JUDGMENT AGAINST DEFENDANT GERALD R. SEPPALA
                                                                                          Case 2:14-cv-04077-PA-AJW Document 116 Filed 02/12/16 Page 2 of 2 Page ID #:7019



                                                                                             1           Pursuant to the Stipulation for Judgment and Entry of Judgment between
                                                                                             2   Plaintiffs Bill A. Busbice, Jr., Ollawood Productions, LLC, formerly known as Olla
                                                                                             3   Productions, LLC, and Ecibsub, LLC (collectively, “Plaintiffs”), and Defendant
                                                                                             4   Gerald R. Seppala, and based upon Plaintiffs’ application for entry of stipulated
                                                                                             5   judgment and the parties’ settlement agreement, the Court finds good cause exists
                                                                                             6   to enter the following judgment in favor of Plaintiffs, and against Defendant Gerald
                                                                                             7   R. Seppala.
                                                                                             8           THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that
                                                                                             9   Plaintiffs are granted judgment against Defendant Gerald R. Seppala, in the amount
                                                                                            10   of $100,000.00.
                                                                                            11
T ROUTMAN S ANDERS LLP




                                                                                            12           IT IS SO ORDERED.
                                                           I R V I N E , C A 92614-2545
                         5 PAR K PLA ZA
                                          S U I T E 1400




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                                                                                            14   DATED: February 12, 2016
                                                                                                                                     PERCY ANDERSON
                                                                                            15                                       United States District Court Judge
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                                                                                                               JUDGMENT AGAINST DEFENDANT GERALD R. SEPPALA
